                             UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF ALABAMA
                                     NORTHERN DIVISION

In the Matter of:                                         }
JEREMY MOORE,                                             }
                                    Debtor(s) .           }     Case No. 18-81266-CRJ-7
                                                          }
                                                          }     Chapter 7
                                                          }
                                                          }

JEREMY MOORE,                                             }
                                   Plaintiff(s),          }
v.                                                        }
                                                          }     AP No. 21-80059-CRJ
HIGHLANDS MEDICAL CENTER and                              }
CAREPAYMENT TECHNOLOGIES, INC.,                           }
                                                          }
                                   Defendant(s).          }


                            ORDER SCHEDULING STATUS CONFERENCE

              This Adversary Proceeding is before the Court on the Complaint filed by the Plaintiff
      alleging that the Defendants violated the automatic stay and the Answers filed by the Defendants.
      The Court, on its own motion pursuant to 11 U.S.C. § 105(d)(1), hereby schedules a Status
      Conference to further the expeditious resolution of this Adversary Proceeding.

              IT IS THEREFORE ORDERED, ADJUDGED AND DECREED that counsel for the
      parties must appear telephonically at the Status Conference on September 15, 2021 at 10:00 a.m.
      before the Honorable Clifton R. Jessup, Jr. If there is a failure to attend the Status Conference, the
      Court may enter appropriate Orders.

              The hearing will be held via an AT&T call-in number. The dial-in number is 1-877-336-
      1280. When prompted, enter the access code #2749965. There is no security code, and please do
      not select any other feature. Other cases or matters may be scheduled for telephonic hearing at the
      same time. Parties should call in five minutes prior to the start of the hearing. Once connected,
      please mute your phone until your case is called. After your hearing is completed, please hang up
      to end your call. To avoid disruption, telephonic hearing participants are expected to call from a
      quiet location and are not permitted to use a "speaker" function or to place the call on hold (as this
      may cause music or other noises to play during the hearings of other participants). Participants
      are encouraged to call from a landline if possible.




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     THIS HEARING WILL TAKE PLACE BY TELEPHONE ONLY. DO NOT COME TO
THE COURTHOUSE.     PLEASE SEE THE COURT'S WEBSITE FOR ADDITIONAL
INFORMATION (www.alnb.uscourts.gov).



Dated this the 20th day of August, 2021.

                                                /s/ Clifton R. Jessup, Jr.
                                                Clifton R. Jessup, Jr.
                                                United States Bankruptcy Judge




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